         Case 1:18-cr-00425-JFK Document 72 Filed 03/10/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
UNITED STATES OF AMERICA

     -against-                                     No. 18 Cr. 425 (JFK)

LAWRENCE MCAFEE,                                            ORDER

                        Defendant.
------------------------------------x
JOHN F. KEENAN, Un ited States District Judge:

     T he Court, having received an email from Pretrial Services

dated March 10, 2021, regarding Defendant Lawrence McAfee's

recent conduct, hereby ORDERS that Defendant, Defense Counsel,

Counsel for the Government, and representatives of the New York

and New Jersey Pretrial Services offices involved in Defendant's

supervision shall appear for an in-person conference on March 16,

2021 at 11:30 a.m. in Courtroom 20-C.          By no later than 5:00 p.m.

on March 15, 2021, Pretrial Services shall provide the Court with

a written memorandum advising the Court of all relevant

information regarding Defendant's pretrial release.

SO ORDERED.

Dated:    New York, New York


                                       v��1:��
                                        ....::.__
          March 10, 2021

                                                  John F. Keenan
                                           United States District Judge
